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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION



BRIAN CLOWDUS
EXPERIENCES, LLC,

          Petitioner,                      CIVIL ACTION FILE

v.                                         NO. 3:21-cv-79-TCB

HISTORIC HUDSON VALLEY,

          Respondent.



                                  ORDER

      This case comes before the Court on Historic Hudson Valley’s

motion [7] to stay. After careful review of the petition [1] to confirm the

arbitration award, the Court is not satisfied that diversity jurisdiction

exists.

      The complaint does not identify the citizenship of Brian Clowdus

Experiences, LLC’s (“BCE”) members. Nor does it identify Historic

Hudson Valley’s place of incorporation. BCE shall respond in writing by

September 3rd to show whether the complete diversity requirement of
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28 U.S.C. § 1332 is satisfied. Failure to do so shall result in this case

being dismissed for want of subject-matter jurisdiction.

     IT IS SO ORDERED this 23rd day of August, 2021.



                                   ____________________________________
                                   Timothy C. Batten, Sr.
                                   Chief United States District Judge
